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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF OKLAHOMA

 JORDAN MOODY,                                   )
                                                 )
              Plaintiff,                         )
                                                 )
 v.                                              )    Case No: CIV-2024-776-HE
 LAWTON CORRECTIONAL FACILITY                    )
 a.k.a. GEO GROUP, INC.                          )
                                                 )
              Defendant.                         )


                                         COMPLAINT

       COMES NOW Plaintiff, Jordan Moody, by and through her attorney, D. Alex Palmer,

hereby complains against Lawton Correctional Facility a.k.a. Geo Group, Inc.

                                           PARTIES

   1. Plaintiff, Jordan Moody (hereinafter “Plaintiff”), a female, is an individual resident

       residing in Comanche County, Oklahoma, within the Western District of Oklahoma.

   2. Plaintiff is a former employee of Defendant, Lawton Correctional Facility a.k.a. Geo

       Group, Inc, (hereinafter “Geo Group, Inc.”, “LRCF” and “Defendant”).

   3. Defendant, Geo Group, Inc. is a Publicly traded C corporation that invests in private prisons

       doing business in Comanche County, Oklahoma, within the Western District of Oklahoma.

                                         NATURE OF CASE

   4. Plaintiff asserts a claim pursuant to gender discrimination in violation of Title VII of the

       Civil Rights Act of 1964 (hereinafter “Title VII”), 42 U.S.C. §2000e et seq., as amended.

       Plaintiff also brings a state law claim for sex discrimination as prohibited by the Oklahoma

       Anti-Discrimination Act (hereinafter “OADA”), see 25 O.S. §1101 et seq.


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                                 JURISDICTION AND VENUE

5. The jurisdiction of this Court is invoked pursuant to section 706(f) of Title VII of the Civil

   Rights Act of 1964, 28 U.S.C. §§ 1331 and 1343, 29 U.S.C. § 626(c), and 42 U.S.C. 2000e-

   5(f)(3). Plaintiff also brings a pendant Oklahoma state law claim under 25 O.S. § 1101 et.

   seq. This Court has jurisdiction over pendant state law claims pursuant to 28 U.S.C. §

   1367(a).

6. Venue in this district is proper pursuant to 28 U.S.C. §1391 (b)–(c), because Defendant

   operates in this district and the unlawful conduct giving rise to the claims occurred in this

   district.

7. Declaratory, injunctive, and equitable relief is sought pursuant to 28 U.S.C. §§ 2201 and

   2202, and 42 U.S.C. § 2000e-5(g). Compensatory and punitive damages are sought

   pursuant to 42 U.S.C. § 1981(a).

8. Costs and attorney fees may be awarded pursuant to 42 U.S.C. § 2000e-5(k) and Fed. R.

   Civ. P. 54.

9. This action properly lies in the District Court for the Western District of Oklahoma,

   pursuant to 28 U.S.C. § 1391(b) because the claim arose in this district, and pursuant to 42

   U.S.C. § 2000e-5(f)(3) the unlawful employment practice occurred in this district.

                                 CONDITIONS PRECEDENT

10. Plaintiff timely filed a charge of discrimination with the Equal Employment Opportunity

   Commission (“EEOC”) on or about April 29, 2024.

11. The EEOC issued a notice of right to sue for charge 564-2024-00460, against the Geo

   Group, Inc.


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12. Plaintiff was issued a notice of right to sue letter for the above charges on April 30, 2024

   and this lawsuit was filed within ninety (90) days of Plaintiff’s receipt of such notice.

13. Plaintiff sent notices to State of Oklahoma Office of Management and Enterprise Services

   and Geo Group Inc. in compliance with the Oklahoma Government Tort Claims Act on

   July 26, 2024.

14. Plaintiff has exhausted her administrative remedies under the law.

                                 GENERAL ALLEGATIONS

15. Plaintiff was hired as a Case Manager at Geo Group, Inc. a.k.a. Lawton Correctional

   Facility March, 2023. The Geo Group, Inc. a.k.a. Lawton Correctional Facility is located

   in Lawton, Oklahoma.

16. Plaintiff immediately began receiving disparate treatment and over the next couple of

   months she was called into the Facility Administrator David Cole’s office to discuss her

   attendance points. However, during this meeting Mr. Cole assured Ms. Moody that he

   could not in good conscious discipline her regarding her attendance due to him having

   “…Supervisors with worse attendance points.”

17. On or about August 28, 2023, Ms. Moody was in the property office dropping off some

   inmate property when she noticed that an inmate named Kurtis Southerland was

   transferring to another DOC facility. Mr. Southerland had been an orderly for Ms. Moody

   when she had worked for the facility previously and had done an exemplary job. Ms.

   Moody seeing that Mr. Southerland was continuing to make positive choices resulting in

   him being transferred to another facility, Ms. Moody approached Mr. Southerland

   engaging him in a short hug and wishing him luck.


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18. On August 29, 2023, Ms. Moody was called into Mr. Cole’s office, shown the CCTV video

   of her interaction with Mr. Southerland, and asked to explain the video. After walking Mr.

   Cole through what he saw on the video, Mr. Cole asked Ms. Moody how this looked on

   her fiancé Lieutenant Russell since Southerland was a high-ranking member of the

   Universal Aryan Brotherhood. LT. Russell is Ms. Moody’s fiancé and is an investigator at

   the facility assigned to the gang units.

19. At the conclusion of the meeting with Mr. Cole, Ms. Moody was placed on administrative

   leave with pay pending an investigation. The investigation was assigned to Assistant

   Facility Administrator Major Latoya Dawson on behalf of the Defendant and outside

   investigator Agent Tommy Stranahan was brought in by the ODOC Office of the Inspector

   General as well. Ms. Moody was advised to call in every Friday to the facility to check on

   the status of the investigation.

20. On or around September 2023, Agent Stranahan contacted Ms. Moody to come in to do

   interview with him where he asked her what had taken place. At conclusion of his

   investigation, it was revealed that Ms. Moody did violate policy for the hug. Also, staff

   member Benjamin Boyd and one other staff member were determined to have violated

   policy for not reporting the incident within policy standards. Mr. Boyd and the other staff

   member did receive disciplinaries but were permitted to keep their jobs while Ms. Moody

   was terminated on or about October 18, 2023.

21. There are several other incidents where male employees committed the same or more

   serious policy violations but were allowed to keep their Jobs. On or about November 10,

   2023, Officer Ke ‘Vonte Smith, a male, was involved in a physical altercation with an


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   inmate. After the altercation ended, Officer Smith and the inmate hugged. The incident was

   reported, and management was aware of the hug, but Officer Smith is still employed with

   LCRF. In early 2024, both Sergeant Lorenzo Wallace and Lieutenant Dawan Brown, both

   males, violated policy by bringing their personal firearms into the facility, both incidents

   were reported, both men still have their jobs.

22. Ms. Moody feels that she has been discriminated against and as such has been targeted

   based on her gender as a female due to them giving more favorable disciplinary outcomes

   to male employees than female employees.

23. As a result of Defendant’s actions, Plaintiff has sustained the following injuries: loss of

   employment, loss of career path and opportunity, loss of wages, loss of fringe benefits, and

   other compensation; and consequential and compensatory damages including, but not

   limited to, those for humiliation, loss of dignity, loss of enjoyment of life, worry, stress,

   and anxiety.

24. Plaintiff has been damaged well in excess of $75,000.00.

25. All adverse actions taken by Defendant against Plaintiff were intentional, willful,

   malicious, or in reckless disregard for the legal rights of Plaintiff.

          COUNT I: ILLEGAL DISCRIMINATION BASED UPON GENDER IN

     VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C.

                                           §2000e et seq.

26. Plaintiff reasserts and incorporates by reference paragraphs 15-25 as set forth above as if

   fully restated herein.




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27. At all relevant times, Plaintiff was qualified for the position she held and had been

   performing satisfactorily.

28. Defendant’s actions, as described above, in terminating the Plaintiff due to discriminatory

   reasons, is in clear violation of Title VII of the Civil Rights Act of 1964.

29. Plaintiff’s gender was a motivating factor in Defendants’ adverse employment-related

   actions described above. Defendants violated Plaintiff’s rights under Title VII by taking

   such adverse actions.

30. As a result of Defendants’ illegal conduct under Title VII, Plaintiff has suffered losses,

   injuries, and damages, as set forth in paragraphs 23-25, above.

31. Plaintiff is entitled to and seek all legal and equitable remedies provided to a prevailing

   plaintiff under Title VII, including, without limitation: back pay, front pay, compensatory

   and punitive damages, as well as appropriate declaratory and injunctive relief.

32. Plaintiff is also entitled, under 42 U.S.C. § 2000e-5(k), to recover attorney fees and costs

   incurred in pursuing this claim.

     COUNT II: ILLEGAL DISCRIMINATION BASED UPON SEX IN VIOLATION

    OF THE OKLAHOMA ANTI-DISCRIMINATION ACT (“OADA”), 25 O.S. § 1101

                                               et. seq.

33. Plaintiff reasserts and incorporates by reference paragraphs 15-25 as set forth above as if

   fully restated herein.

34. Plaintiff’s termination is due to her status as a female.

35. Plaintiff would not have faced such sex-based discrimination had she not been a female.




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    36. The acts and omissions described above violate the Oklahoma Anti-Discrimination Act

          (“OADA”), 25 O.S. § 1101 et. seq.

    37. As a result of Defendant’s discriminatory and retaliatory actions against Plaintiff, Plaintiff

          has suffered the losses and damages described in paragraphs 23-25.

    38. As such, Plaintiff is entitled to recover from Defendant all actual and compensatory

          damages, including, but not limited to, damages for back pay, front pay, humiliation, loss

          of dignity, loss of enjoyment of life, worry, stress, and anxiety resulting from his wrongful

          discharge, as well as punitive damages.

    39. Plaintiff is also entitled, under 25 O.S. §§ 1350(H) and 1506.8, to recover court costs and

          attorney fees incurred in pursuing this action.

                                       PRAYER FOR RELIEF

    WHEREFORE, it is respectfully prayed that this Court grants to the Plaintiff the following

relief:

          a. Back pay, in amounts to be determined at trial;

          b. Front pay, in amounts to be determined at trial;

          c. Punitive damages;

          d. Compensatory damages;

          e. Consequential damages;

          f. Injunctive and/or declaratory relief;

          g. Pre-judgment and post-judgment interest at the highest lawful rate;

          h. Attorneys' fees and costs of this action, including expert witness fees, as

          appropriate;


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       i. That Defendant be enjoined and restrained from engaging in further discriminatory

       conduct; and

       j. Any such further relief as justice allows.

                                DEMAND FOR JURY TRIAL

       Plaintiff hereby requests trial by jury of all issues triable by jury under Oklahoma and

Federal law.

       RESPECTFULLY SUBMITTED ON THIS 29th DAY OF JULY, 2024.


                                             /s/ D. Alex Palmer
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Attorney’s Lien Claimed




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